97 F.3d 1461
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Mario GARCIA, Defendant-Appellant.
    No. 96-55331.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 10, 1996.*Decided Sept. 13, 1996.
    
      Before:  FLETCHER, BRUNETTI, and NOONAN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Mario Garcia, a federal prisoner, appeals pro se the denial of his 28 U.S.C. § 2255 motion challenging his conviction for conspiracy to possess cocaine with intent to distribute in violation of 21 U.S.C. §§ 841(a)(1) and 846.  Garcia contends that the Double Jeopardy Clause barred his conviction due to the prior civil forfeiture of his vehicle pursuant to 21 U.S.C. § 881(a).  This contention is precluded by the Supreme Court's decision in  United States v. Ursery, 116 S.Ct. 2135 (1996).  See United States v. Sardone, No. 95-50303, slip op. 10917, 10925 (9th Cir.  Aug. 30, 1996).  We also reject Garcia's contention that the federal government lacked jurisdiction to prosecute him for an offense that took place within the jurisdiction of California.  See United States v. Kim, No. 95-16840, slip op. 10907, 10911 (9th Cir.  Aug. 30, 1996) (21 U.S.C. § 841(a)(1) is valid exercise of Congress's power under the Commerce Clause).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    